765 F.2d 144
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.BILL FOX CHEVROLET, INC., PETITIONER,v.NATIONAL LABOR RELATIONS BOARD, RESPONDENT.
    NO. 84-5497, 84-5681
    United States Court of Appeals, Sixth Circuit.
    5/13/85
    
      BEFORE:  ENGEL and KEITH, Circuit Judges, CELEBREZZE, Senior Judge.
    
    
      1
      On petition to enforce an order of the National Labor Relations Board,
    
    
      2
      This cause came on to be heard on the record of the Board, the briefs and oral argument of the parties.  Upon due consideration thereof the Court finds that the findings and order of the Board are supported by substantial evidence on the record as a whole.
    
    
      3
      It is therefore ORDERED that the order of the Board in this case be and it hereby is enforced.
    
    